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Umted States D1strlct Court @?»;@§§/3?, q 6¥'@/
WESTERN DISTRICT oF TENNESSEE "“,y/a§/Q%
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JUDGMENT IN A CleL CASE
BOBBY R. BAKER,
V.
WARDEN PARKER, ET AL., CASE NUMBER: 1:05-1132-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T lS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 7/14/2005, this case is hereby D|SM|SSED Without
prejudice , pursuant to 42 U.S.C. § 1997 e(a). lt is also CERT|F|ED that any Appea| by
plaintiff is not taken in good faith.

APPROVED:

Q?VWZ)¢M

JL£MES D. ToDD
ITED STATES DISTRICT JUDGE

THOMAS M'.~‘GOULD

 

 

cLERK -,
wis/cs cola
DATE l ' DEPUTY CLERK

This document entered on the docket sheet in compliance

with Rule 58 and/or 79(3) FRcP on` { l iq z 05 . \>\

 

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This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01132 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

 

Bobby R. Baker

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7475 Cockrill Bend Blvd.
Nashville, TN 37209--104

Honorable J ames Todd
US DISTRICT COURT

